      Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 1 of 70 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC,

       Plaintiff,                                       Case No. 18-cv-07916

v.

NORTHWOOD, INC.,

       Defendant.


                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Northwood, Inc.

(“Northwood”), by and through its attorney, files this Notice of Removal, removing a civil action

titled Clinical Wounds Solutions, Inc. v. Northwood, Inc., Case No. 2018-L-001238, from the

Circuit Court of the Eighteenth Judicial Circuit, DuPage County, Illinois, Law Division, to the

United States District Court for the Northern District of Illinois, Eastern Division. In support of

this Notice, Northwood states as follows:

                      BACKGROUND AND PROCEDURAL HISTORY

       1.      On or about October 30, 2018, Plaintiff filed a civil action against Northwood in

the Circuit Court of the Eighteenth Judicial Circuit, DuPage County, Illinois, captioned Clinical

Wounds Solutions, Inc. v. Northwood, Inc., Case No. 2018-L-001238 (the “State Court Action”).

       2.      Northwood was served the Complaint and Summons for the State Court Action on

November 2, 2018.

       3.      Plaintiff’s Complaint in the State Court Action alleges four purported causes of

action against Northwood, as follows: (1) Count I – Breach of Contract, (2) Count II – Fraud, (3)
        Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 2 of 70 PageID #:2



Count III – Illinois Improper Claims Practice, and (4) Count IV – Michigan Third Party

Administrator Act.

          4.       The following process, pleadings, and orders have been served thus far in the

State Court Action, and pursuant to 28 U.S.C. § 1446(a), all of those documents are attached

hereto:

                a. Plaintiff’s Complaint, filed October 30, 2018, attached as Exhibit A.

                b. Plaintiff’s Summons, served November 2, 2018, attached as Exhibit B.

                    PROPRIETY OF REMOVAL: DIVERSITY JURISDICTION

          5.       Plaintiff is in the business of supplying medical supplies. Plaintiff is an Illinois

limited liability company conducting business in Bensenville, Illinois. Ex. A at ¶¶ 1-2.

          6.       Northwood is a corporation incorporated in the State of Michigan with its

principal place of business in Michigan. Id. at ¶ 3.

          7.       The parties are all citizens of different States.

          8.       Plaintiff’s Complaint demonstrates the amount in controversy exceeds $75,000 as

Plaintiff requests judgment on each of the four Counts “in the amount of $196,769.30.” See,

e.g., Ex. A at p. 2.

          9.       By reasons of the foregoing, this Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332(a). There is diversity of citizenship, and the amount in controversy

exceeds $75,000. Removal of the action to this Court is therefore proper pursuant to 28 U.S.C. §

1441.

                                                  VENUE

          10.      Venue for this removal action is proper in the Northern District of Illinois, Eastern

Division of the United States District Court because the territorial jurisdiction of this Court




                                                      2
      Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 3 of 70 PageID #:3



includes the Circuit Court of the Eighteenth Judicial Circuit, DuPage County, Illinois, in which

Plaintiff filed its Complaint.

       11.     Removal to this particular Court is therefore proper pursuant to 28 U.S.C. §

1446(a).

                     COMPLIANCE WITH REMOVAL PROCEDURES

       12.     Pursuant to 28 U.S.C. § 1446(a), all papers served on Northwood in the State

Court Action are being filed herewith.

       13.     The initial pleading in this matter is removable.

       14.     The Notice of Removal is timely filed within 30 days of service of the Complaint

upon Northwood, pursuant to 28 U.S.C. § 1446.

       15.     Northwood will give Plaintiff written notice of the filing of this Notice of

Removal pursuant to 28 U.S.C. § 1446(d) by serving its counsel of record with a copy of this

notice of Removal, inclusive of attachments, by regular U.S. first class mail, postage prepaid.

       16.     Northwood will promptly file a Notice of Filing of Notice of Removal with the

Clerk of the Eighteenth Judicial Circuit, DuPage County, Illinois, pursuant to 28 U.S.C. §

1446(d).


Dated: November 30, 2018                      RESPECTFULLY SUBMITTED,

                                              By: /s/ Ethan E. White
                                                 Ethan E. White
                                                 EMERY LAW, LTD.
                                                 3 Grant Square, #268
                                                 Hinsdale, Illinois 60521
                                                 (630) 984-0339(direct)
                                                 ewhite@emerylawltd.com




                                                 3
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 4 of 70 PageID #:4




                       Exhibit A
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 5 of 70 PageID #:5
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 6 of 70 PageID #:6
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 7 of 70 PageID #:7




                       Exhibit B
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 8 of 70 PageID #:8
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 9 of 70 PageID #:9
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 10 of 70 PageID #:10
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 11 of 70 PageID #:11
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 12 of 70 PageID #:12
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 13 of 70 PageID #:13
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 14 of 70 PageID #:14
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 15 of 70 PageID #:15
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 16 of 70 PageID #:16
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 17 of 70 PageID #:17
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 18 of 70 PageID #:18
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 19 of 70 PageID #:19
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 20 of 70 PageID #:20
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 21 of 70 PageID #:21
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 22 of 70 PageID #:22
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 23 of 70 PageID #:23
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 24 of 70 PageID #:24
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 25 of 70 PageID #:25
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 26 of 70 PageID #:26
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 27 of 70 PageID #:27
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 28 of 70 PageID #:28
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 29 of 70 PageID #:29
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 30 of 70 PageID #:30
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 31 of 70 PageID #:31
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 32 of 70 PageID #:32
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 33 of 70 PageID #:33
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 34 of 70 PageID #:34
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 35 of 70 PageID #:35
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 36 of 70 PageID #:36
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 37 of 70 PageID #:37
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 38 of 70 PageID #:38
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 39 of 70 PageID #:39
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 40 of 70 PageID #:40
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 41 of 70 PageID #:41
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 42 of 70 PageID #:42
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 43 of 70 PageID #:43
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 44 of 70 PageID #:44
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 45 of 70 PageID #:45
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 46 of 70 PageID #:46
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 47 of 70 PageID #:47
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 48 of 70 PageID #:48
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 49 of 70 PageID #:49
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 50 of 70 PageID #:50
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 51 of 70 PageID #:51
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 52 of 70 PageID #:52
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 53 of 70 PageID #:53
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 54 of 70 PageID #:54
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 55 of 70 PageID #:55
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 56 of 70 PageID #:56
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 57 of 70 PageID #:57
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 58 of 70 PageID #:58
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 59 of 70 PageID #:59
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 60 of 70 PageID #:60
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 61 of 70 PageID #:61
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 62 of 70 PageID #:62
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 63 of 70 PageID #:63
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 64 of 70 PageID #:64
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 65 of 70 PageID #:65
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 66 of 70 PageID #:66
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 67 of 70 PageID #:67
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 68 of 70 PageID #:68
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 69 of 70 PageID #:69
Case: 1:18-cv-07916 Document #: 1 Filed: 11/30/18 Page 70 of 70 PageID #:70
